Case 1:05-cr-10055-.]DT Document 6 Filed 08/24/05 Page 1 of 2 Page|D 6

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Eastern Division SA‘TE: ZS'-,;q ..06

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EF`*’”§TWLS: §
-vs_ ease NTI?USErmss-eorr
DERRICK GooDMAN

 

()RDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

- All purposes including trial and appeal

DONE and ORDERED in 167 N. Main, Memphis, TN, this 24th day of August, 2005.

§WWAJ @¢.)

S. THOMAS ANDERSON
UNITE.`D STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Services Oft`iee

Assistant Federal Public Defender
lntake

DERRICK GOODMAN

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10055 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
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Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

